Case 1:04-cv-01945-JBW-SMG Document 892-7 Filed 06/09/06 Page 1 of 8 PageID #: 58580




                                                                            E12
Case 1:04-cv-01945-JBW-SMG Document 892-7 Filed 06/09/06 Page 2 of 8 PageID #: 58581




                                                                            E13
Case 1:04-cv-01945-JBW-SMG Document 892-7 Filed 06/09/06 Page 3 of 8 PageID #: 58582




                                                                            E14
Case 1:04-cv-01945-JBW-SMG Document 892-7 Filed 06/09/06 Page 4 of 8 PageID #: 58583




                                                                            E15
Case 1:04-cv-01945-JBW-SMG Document 892-7 Filed 06/09/06 Page 5 of 8 PageID #: 58584




                                                                            E16
Case 1:04-cv-01945-JBW-SMG Document 892-7 Filed 06/09/06 Page 6 of 8 PageID #: 58585




                                                                            E17
Case 1:04-cv-01945-JBW-SMG Document 892-7 Filed 06/09/06 Page 7 of 8 PageID #: 58586




                                                                            E18
Case 1:04-cv-01945-JBW-SMG Document 892-7 Filed 06/09/06 Page 8 of 8 PageID #: 58587




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